Case 3:22-cv-01609-CAB-MSB Document 1 Filed 10/18/22 PageID.1 Page 1 of 5




1 PANISH | SHEA | BOYLE | RAVIPUDI LLP
  RAHUL RAVIPUDI, State Bar No. 204519
2
   rravipudi@psbr.law
3 SRINIVAS HANUMADASS, State Bar No. 228547
    vas@psbr.law
4
  11111 Santa Monica Boulevard, Suite 700
5 Los Angeles, California 90025
  Telephone: 310.477.1700
6
  Facsimile: 310.477.1699
7
  Attorneys for Plaintiff
8
9
10
11
12                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
13
14 RAYMOND STANIFORTH, an                   Case No. '22CV1609 CAB MSB
   individual
15                                          COMPLAINT FOR DAMAGES
16            Plaintiff,
                                            1. NEGLIGENCE (FEDERAL
17         v.                                    TORT CLAIMS ACT, 28
18                                               U.S.C. §§ 1346(b), 2671-
   UNITED STATES OF AMERICA, a                   2680)
19 government entity
20                                          DEMAND FOR JURY TRIAL
                  Defendant.
21
22
                                GENERAL ALLEGATIONS
23
           1.     Plaintiff RAYMOND STANIFORTH brings this action against
24
     Defendant UNITED STATES OF AMERICA alleging negligence resulting from a
25
     motor vehicle collision.
26
27
28

                                  COMPLAINT FOR DAMAGES
Case 3:22-cv-01609-CAB-MSB Document 1 Filed 10/18/22 PageID.2 Page 2 of 5




 1         2.    On June 23, 2021, at approximately 3:00 p.m., Plaintiff was riding his
 2 orange 2005 KTM EXC on the privately owned Hagan's Ranch dirt road in a
 3 northerly direction.
 4         3.    At the time, United States Customs and Border Patrol Agent, Cesar
 5 Camacho, while on duty for the Campo Border Patrol Station, was driving a 2020
 6 Chevrolet Tahoe Border Patrol vehicle, in a southerly direction on the same private
 7 road.
 8         4.    Just before these two vehicles came into contact, Agent Camacho
 9 came around a left-hand blind curve. Plaintiff was on a straight section of the road
10 and appreciably away from the start of his right-hand turn and had not yet entered
11 the curve in the roadway at the time he was struck.
12         5.    Camacho, while acting in the course and scope of his employment for
13 Defendant UNITED STATES OF AMERICA and driving a motor vehicle owned by
14 Defendant UNITED STATES OF AMERICA, traveled too fast for the subject blind
15 curve, and failed to exercise his responsibility to not endanger the safety of others
16 including Plaintiff, commensurate with California Vehicle Code section 22350 and
17 other safety rules or regulations. Agent Camacho struck Plaintiff and Plaintiff's
18 motorbike, causing Plaintiff to be crushed and suffer severe, life-long and
19 permanent injuries. ("Subject Incident").
20                                        PARTIES
21         6.    At all times relevant herein, Plaintiff RAYMOND STANIFORTH was
22 a United States citizen and a citizen and resident of the State of California.
23         7.    Defendant UNITED STATES OF AMERICA (“UNITED STATES”),
24 is a government entity organized and existing under the laws of the United States of
25 America and conducting regular business in the State of California, County of San
26 Diego. Plaintiff is informed and believes, and thereupon alleges, that at the time of
27 the Subject Incident, Customs and Border Protection (CBP) Agent Cesar Camacho
28 negligently injured Plaintiff while in the course and scope of his employment with

                                               2
                                   COMPLAINT FOR DAMAGES
Case 3:22-cv-01609-CAB-MSB Document 1 Filed 10/18/22 PageID.3 Page 3 of 5




 1 the United States Customs and Border Protection, an entity under the United States
 2 Department of Homeland Security.
 3         8.    Plaintiff is further informed and believes, and thereupon alleges, that
 4 Agent Camacho was acting in the course and scope of his employment for the
 5 Department of Homeland Security and driving a vehicle owned by the Department
 6 of Homeland Security, an agency of Defendant the UNITED STATES, when he
 7 caused the collision with Plaintiff's motorbike, and therefore was an employee and
 8 agent of the Department of Homeland Security for purposes of the Federal Tort
 9 Claims Act, 28 U.S.C. §§ 1346(b), 2671-2680 (hereinafter FTCA), and was acting
10 under the immediate jurisdiction of such government entity, thereby making the
11 Defendant UNITED STATES liable for his acts and omissions.
12                     JURISDICTION VENUE AND STANDING
13         9.    This Court’s jurisdiction over claims against the UNITED STATES
14 arises under 28 U.S. Code §§ 1331(b), 1346(b), and the FTCA, 28 U.S.C. §§ 2671-
15 2680.
16         10.   Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and
17 1402(b) because it is the federal district in which a substantial part of the events or
18 omissions giving rise to these claims occurred.
19         11.   Plaintiff RAYMOND STANIFORTH, as an individual, presented
20 Administrative Claims for himself to the appropriate Federal Agency, for personal
21 injuries on or about July 11, 2022. Defendants failed to timely act on the claims,
22 thereby allowing this lawsuit to proceed.
23         12.   Plaintiffs’ Administrative Claims have been perfected under FTCA, to
24 the extent such perfection is required, and now Plaintiff commences this action
25 pursuant to 28 U.S. Code § 2675 and § 2401. Accordingly, Plaintiff has a right to
26 sue the UNITED STATES in law under the FTCA.
27                             FIRST CLAIM FOR RELIEF
28                                NEGLIGENCE (FTCA)

                                               3
                                    COMPLAINT FOR DAMAGES
Case 3:22-cv-01609-CAB-MSB Document 1 Filed 10/18/22 PageID.4 Page 4 of 5




 1         13.   Plaintiff restates and incorporates herein by reference each and every
 2 allegation and statement contained in the prior paragraphs.
 3         14.   Plaintiff’s FIRST CLAIM FOR RELIEF is for negligence, and is
 4 brought against Defendant UNITED STATES as an action in law pursuant to the
 5 jurisdiction provided by the Federal Tort Claims Act (FTCA).
 6         15.   Plaintiff is informed, believes, and thereupon alleges that the Customs
 7 Border Patrol (CBP) Agent driving the vehicle that caused the Subject Incident
 8 owed a duty of care to Plaintiff to operate his government vehicle reasonably, obey
 9 applicable laws and the rules of the road, and control of his vehicle in a safe manner
10 so as to not endanger the motoring public.
11         16.   Plaintiff is further informed, believes, and thereupon alleges that the
12 CBP Agent driving the vehicle that caused the Subject Incident, while acting in the
13 course and scope of his employment with the United States Customs and Board
14 Protection (as a subdivision of the U.S. Department of Homeland Security), and
15 DEFENDANT UNITED STATES, breached that duty of care by negligently and
16 recklessly operating his vehicle in such a manner that it caused the Subject Incident
17 and Plaintiff's injuries, harms and losses.
18         17.   Plaintiff is informed, believes, and thereupon alleges that Agent
19 Camacho's negligent and reckless conduct directly and proximately caused the
20 Subject Incident and resulted in Plaintiff's injuries, harms and losses.
21         18.   Plaintiff is informed, believes, and thereupon alleges that the conduct
22 of the CBP Agent driving the vehicle that caused the Subject Incident, occurred
23 while the CBP agent was within the course and scope of his employment, agency
24 and/or service with Defendant UNITED STATES, which is, therefore, vicariously
25 liable for Agent Camacho’s negligent conduct.
26         19.   As a direct and proximate result of Defendant’s conduct, actions or
27 omissions, Plaintiff has incurred expenses for medical care and treatment, and will
28

                                                 4
                                   COMPLAINT FOR DAMAGES
Case 3:22-cv-01609-CAB-MSB Document 1 Filed 10/18/22 PageID.5 Page 5 of 5




 1 incur expenses for medical care and treatment in the future, in an amount to be
 2 proven at trial.
 3         20.    As a direct and proximate cause of Defendant’s conduct, actions or
 4 omissions, Plaintiff suffered and will continue to suffer severe physical,
 5 psychological, and emotional injuries, in addition to pain, suffering, and
 6 disfigurement, in an amount to be proven at trial.
 7                             PRAYER FOR DAMAGES
 8         WHEREFORE, Plaintiff RAYMOND STANIFORTH, hereby prays for
 9 judgment against Defendant as follows:
10         1.     For all available general damages (also known as non-economic
11 damages);
12         2.     For all available special damages (also known as economic damages),
13 including but not limited to, past hospital, medical, professional, and incidental
14 expenses according to proof;
15         3.     For costs of suit and prejudgment interest as awardable by law;
16         4.     For attorneys' fees, if available; and
17         5.     For such other and further relief as the Court may deem just and
18 proper.
19
20                            DEMAND FOR JURY TRIAL
           Plaintiffs demand a jury trial pursuant to Rule 38 of the Federal Rules of Civil
21
     Procedure and the Seventh Amendment of the U.S. Constitution, on all causes of
22
     action as to all Defendants.
23
     DATED: October 18, 2022              PANISH | SHEA | BOYLE | RAVIPUDI LLP
24
25
26                                        By:
27                                              Srinivas M. Hanumadass
                                                Attorneys for Plaintiff
28

                                                5
                                    COMPLAINT FOR DAMAGES
